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 9
                      UNITED STATES DISTRICT COURT
10               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11                                                           '21CV2048 MMA MDD
      ANDRE VITIOSUS, DEBRA                       Case No.: __________________
12    FOLEY, and RACHEL LUMBRA,
13    on behalf of themselves and all
      others similarly situated,                  CLASS ACTION COMPLAINT
14
15                        Plaintiffs,

16          v.
17
      ALANI NUTRITION, LLC,
18
19                        Defendant.

20
21
22
23         Plaintiffs Andres Vitiosus, Debra Foley, and Rachel Lumbra (collectively
24   “Plaintiffs”), individually and on behalf of all others similarly situated, by and
25   through their undersigned counsel, bring the following Class Action Complaint
26   against Defendant Alani Nutrition, LLC (“Defendant”):
27
28
                                  CLASS ACTION COMPLAINT
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                                NATURE OF THE ACTION
 1
 2         1.     This is a civil class action brought individually by Plaintiffs on behalf
 3   of consumers who purchased Defendant’s FIT SNACKS Whey Protein Baked Bar
 4   products, including but not limited to, those in any of the following flavors:
 5   Chocolate Cake, Peanut Butter Cup, Peanut Butter Crisp, Cookies and Cream, and
 6   Munchies, Fruity Cereal, Confetti Cake, Blueberry Muffin, or any other limited,
 7   discontinued, or seasonal flavors (the “Products”).
 8         2.     Defendant misleads consumers into thinking that its Products are
 9   “healthy”, based on the synonymous name of the Products “FIT” Snacks, when in
10   fact the Products typically contain 6 grams of fat, depending on flavor and size of
11   the Products. The United States Food, Drug and Cosmetic Act, along with parallel
12   state statutes, have found healthy claims to be misleading in high fat content products
13   just like Defendant’s.
14         3.     As a purveyor in the highly lucrative protein bar market, Defendant
15   knows that when it comes to labeling and marketing, words matter. This is why
16   Defendant chose to name the Products “FIT” Snacks, and to emblazon the word
17   “FIT” on the front and center of each Product label, in a bold all-capitalized font,
18   where consumers cannot miss it.
19         4.     Defendant chose to label the Products in this way to impact consumer
20   choices and gain market dominance, as it is well aware that all consumers who
21   purchased the Products were exposed to, and would be impacted by, the “FIT”
22   representation and would reasonably believe from this representation that the
23   Products are healthy. However, the Products are not “healthy” as they contain high
24   levels of fat in violation of the United States Food, Drug and Cosmetic Act
25   (“FDCA”) and parallel state laws.
26         5.     The FDCA was enacted, in part, to ensure companies accurately label
27   and identify their products so consumers can choose more healthful diets. As part
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                                 CLASS ACTION COMPLAINT
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 1   of this strategic plan, the FDCA, along with parallel state statutes, have found
 2   healthy claims to be misleading in high fat content products such as Defendant’s
 3   Products at issue in this litigation. Defendant’s labeling of the Products as “FIT”,
 4   and in the manner described above, is in violation of the FDCA and parallel state
 5   laws and is deceptive and unlawful.
 6
                                           PARTIES
 7
 8         6.     Plaintiff Andres Vitiosus is a resident and citizen of Escondido,
 9   California in San Diego County.
10         7.     Plaintiff Debra Foley is a resident and citizen of Palmdale, California
11   in Los Angeles County.
12         8.     Plaintiff Rachel Lumbra is a resident of Schenectady, New York in
13   Schenectady County.
14         9.     Defendant Alani Nutrition, LLC is a Kentucky Limited Liability
15   Corporation with its principal place of business at 7201 intermodal Drive, Louisville,
16   Kentucky, 40258.
17         10.    Defendant designed, manufactured, warranted, advertised, and sold the
18   Products throughout the United States, including the State of California, and
19   continues to do so.
20
21
                               JURISDICTION AND VENUE
22
23         11.    This Court has subject matter jurisdiction over this class action pursuant
24   to 28 U.S.C. § 1332(d). The matter in controversy, exclusive of interest and costs,
25   exceeds the sum or value of $5,000,000 and is a class action in which some members
26   of the Classes are citizens of states other the state in which Defendant is incorporated
27   and has its principal place of business.
28
                                  CLASS ACTION COMPLAINT
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 1          12.    This Court has personal jurisdiction over Defendant because the acts
 2   and omissions giving rise to this action occurred in the state of California. This Court
 3   also has personal jurisdiction over Defendant because Defendant placed the Products
 4   in the stream of commerce directed at the State of California, Plaintiffs purchased
 5   the Products within California, and Defendant’s fraud and misrepresentations
 6   occurred in California.
 7          13.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and
 8   (c) because a substantial part of the events or omissions giving rise to at least one of
 9   Plaintiffs’ claims occurred in this District. Specifically, Plaintiff Vitiosus purchased
10   the Products within this District.
11          14.    Venue is also proper under 18 U.S.C. § 1965(a) because Defendant
12   transacts substantial business in this District.
13
                                   FACTUAL ALLEGATIONS
14
15           15. At all relevant times, Defendant has marketed its Products in a
16   consistent and uniform manner. Defendant sells the Products in all 50 states on its
17   website and through various distributors and retailers across the United States.
18
19                                          FIT SNACKS
20
            16.    Defendant states on its website about the FIT SNACKS: “We crafted
21
     our line of supplements for people who take their health and wellness seriously.
22
     From appropriate portions to balanced ingredients, Alani Nu supplements are
23
     designed to help you find your strength inside. Fill the gaps in your nutrition, find
24
     extra motivation, or even balance your hormones with supplements to assist in
25
     fitness and wellness goals.”1
26
27
28   1 https://www.alaninu.com/pages/benefits (last visited 10/14/2021).
                                    CLASS ACTION COMPLAINT
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 1          17.    Defendant states on every box of the Products “SNACKS YOU
 2   WON’T FEEL GUILTY ABOUT, FLAVORS YOU’LL LOVE.”2
 3          18.    Defendant has a marketing campaign that promotes the Products as
 4   “Balanced nutrition & superior taste”, “You’ve found a protein bar that fits all your
 5   needs”, and “Care-free snacking just got better”.3
 6          19.    Defendant bases its marketing campaign on the claim that snacking on
 7   the Products is “without guilt”. It says on its website when purchasing the Products
 8   “indulge your cravings without the guilt. Smart snacking should be care-free and
 9   delicious which is why we’ve come up with a pretty awesome protein bar to fit all
10   your needs. With our traditional flavors like Confetti Cake and Fruity Cereal, and
11   new flavors like Blueberry Muffin & Chocolate Cake. Trust us, you’re going to want
12   one of each.”4
13          20.    As discussed in more detail below, however, Defendant intentionally
14   misleads consumers into believing the Products are a healthy choice by naming and
15   marketing the Product as “FIT” in order to increase its sale and maximize its profits.
16          21.    Thus, Defendant’s consumers pay more for the FIT SNACKS, which
17   contains significantly higher amounts of fat than consumers reasonably expect.
18          22.    Plaintiffs would not have purchased or would have paid less for the
19   Products had they known that the Products were deceptively labeled in violation of
20   the FDCA and parallel state laws.
21
                            Labeling Requirements and Regulations
22
23          23.    The Products’ names “FIT SNACKS” and “FITBAR,” also referred to
24   in the United States Food and Drug Administration (“FDA”) regulations as the
25
26   2https://www.amazon.com/Alani-Nu-Gluten-Free-Low-Sugar
27   Blueberry/dp/B087QX8CXV?th=1 (last visited 10/14/2021).
     3 Id.
28   4 https://www.alaninu.com/products/protein-bar-12pk (last visited 10/14/2021).
                                    CLASS ACTION COMPLAINT
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 1   “statement of identity,” are prominently stated on the “principal display panel,” or
 2   the front label, of the Products.
 3          24.     Under the applicable FDA regulation, the Product label’s statement of
 4   identity must be an appropriate descriptive name that is not misleading. 21 C.F.R. §
 5   101.3(b)(3).
 6          25.     Pursuant to 21 U.S.C. § 321(ff), Defendant’s Products are “foods”
 7   regulated by the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 301 et seq.,
 8   (“FDCA”) and FDCA regulations.
 9          26.     Under section 403(r)(1)(A) of the FDCA (21 U.S.C. 343(r)(1)(A)), a
10   food is mislabeled if it bears claims, either express or implied, that characterizes the
11   level of a nutrient which is of a type required to be declared in nutrition labeling
12   unless the claim is made in accordance with a regulatory definition established by
13   FDA.
14          27.     21 CFR 101.65(d)(2) of the FDA provides:
15          You may use the term "healthy" or related terms (e.g., "health," "healthful,"
16          "healthfully," "healthfulness," "healthier," "healthiest," "healthily," and
17          "healthiness") as an implied nutrient content claim on the label or in labeling
18          of a food that is useful in creating a diet that is consistent with dietary
19          recommendations if:
20
                    (i)   The food meets the following conditions for fat, saturated
21
                          fat, cholesterol, and other nutrients:
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                                   CLASS ACTION COMPLAINT
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                                         The saturated        The
 1     If the food is...
                           The fat level
                                          fat level must cholesterol
                                                                               The food must
                            must be...                                           contain...
 2                                              be...   level must be...
                                                        The disclosure
 3                                       Low saturated level for
                            Low fat as
     (A) A raw fruit or                  fat as defined cholesterol
 4   vegetable
                            defined in §
                                         in §           specified in §
                                                                         N/A
                            101.62(b)(2)
 5                                       101.62(c)(2) 101.13(h) or
                                                        less
 6                                                      The disclosure
     (B) A single-
                                         Low saturated level for
 7   ingredient or a        Low fat as
                                         fat as defined cholesterol
     mixture of frozen or defined in §                                   N/A
 8                                       in §           specified in §
     canned fruits and      101.62(b)(2)
                                         101.62(c)(2) 101.13(h) or
 9   vegetables 1
                                                        less
10   (C) An enriched                                    The disclosure
     cereal-grain product                Low saturated level for
                            Low fat as
11   that conforms to a                  fat as defined cholesterol
                            defined in §                                 N/A
     standard of identity                in §           specified in §
12                          101.62(b)(2)
     in part 136, 137 or                 101.62(c)(2) 101.13(h) or
     139 of this chapter                                less
13
                                                                         At least 10 percent of
                            Less than 5
14                                       Less than 2 g Less than 95      the RDI 3 or the
     (D) A raw, single- grams (g) total
                                         saturated fat  mg cholesterol DRV 4 per RA of one or
15   ingredient seafood fat per
                                         per RA and per per RA and per more of vitamin A,
     or game meat           RA 2 and per
                                         100 g          100 g            vitamin C, calcium, iron,
16                          100 g
                                                                         protein, or fiber
17                                                                       At least 10 percent of
                                                                         the RDI or DRV per LS
18   (E) A meal product
                                                                         of two nutrients (for a
     as defined in §                     Low saturated
                            Low fat as                  90 mg or less main dish product) or of
19   101.13(l) or a main
                            defined in §
                                         fat as defined
                                                        cholesterol per three nutrients (for a
     dish product as                     in §
20                          101.62(b)(3)                LS 5             meal product) of:
     defined in §                        101.62(c)(3)
                                                                         vitamin A, vitamin C,
     101.13(m)
21                                                                       calcium, iron, protein, or
                                                                         fiber
22
                                                        The disclosure At least 10 percent of
23                                       Low saturated level for         the RDI or the DRV per
     (F) A food not         Low fat as
                                         fat as defined cholesterol      RA of one or more of
     specifically listed in defined in §
24                                       in §           specified in § vitamin A, vitamin C,
     this table             101.62(b)(2)
                                         101.62(c)(2) 101.13(h) or       calcium, iron, protein or
25                                                      less             fiber
26
27         28.      Section 101.62(b)(2) defines low fat as: “contains 3 g or less of fat per
28   reference amount customarily consumed[.]”

                                    CLASS ACTION COMPLAINT
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 1              29.        While the term “FIT” is not listed as an implied nutrient claim, the term
 2   “fit” is synonymous with the term “healthy.” Merriam-Webster defines “fit” as
 3   “sound physically and mentally : HEALTHY.”5
 4              30.        Further, the Federal Trade Commission has stated that synonyms of the
 5   statutorily defined terms for Nutrient Content Claims will also face enforcement
 6   action for being misleading.6
 7              31.        Specifically, in its latest statement, it specifically stated it was going to
 8   enforce misleading synonyms like the claims made by Defendant for FIT SNACKS:
 9
                           The Commission will examine advertising to ensure that
10
                           claims that characterize the level of a nutrient, including
11                         those using synonyms that are not provided for in
                           FDA's regulations, are consistent with FDA
12
                           definitions. Commission precedent establishes that an
13                         advertisement that can reasonably be interpreted in
                           a misleading way is deceptive, even though other,
14
                           nonmisleading interpretations may be equally
15                         possible. Thus, when express or implied claims
                           suggest that a food product meets the standard for
16
                           use of an FDA-defined term, advertisers should
17                         ensure that the food actually meets the relevant FDA
                           standard. For example, depending on the context of an
18
                           ad, use of the phrases "packed with" or "lots of" to
19                         describe the level of fiber in a food could convey to some
                           reasonable consumers that the food is "high" in fiber.
20
                           Because FDA's regulations define the terms "good
21                         source" and "high" with respect to fiber, consumers are
22                         likely to be misled if a "high fiber" claim is implied by
                           an ad for a food that is only a "good source" of fiber.7
23
                32.        Both the FDA and FTC believe these types of claims, including their
24
     synonyms, to be misleading to consumers.
25
26
     5 See https://www.merriam-webster.com/dictionary/fit (Last visited Sept. 3, 2021).
27   6See https://www.ftc.gov/public-statements/1994/05/enforcement-policy-statement-food-advertising#44 (last visited November 19, 2021).
28   7 Id. (emphasis supplied).

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 1             33.        Defendant intentionally named and marketed the Products with the
 2   term “Fit” to make the Products stand out to consumers. In doing so, consumers were
 3   misled into believing that the Products are healthy.
 4             34.        However, pursuant to the FDCA and parallel state statutes, the Products
 5   are not healthy. Therefore, Defendant’s Products are misleading under the FDCA,
 6   and parallel state statutes, because the Products contain well over 3 grams of fat.
 7             35.        Further, the FDA states in their Guidance for the Industry regarding
 8   “healthy” claims, that they intend to exercise enforcement discretion where the
 9   products: 1) are not low in fat, but have a fat profile makeup of predominately mono
10   and polyunsaturated fats; or 2) contain at least ten percent of the Daily Value (DV)
11   per reference amount customarily consumed (RACC) of potassium or Vitamin D”.8
12             36.        The FIT SNACKS Munchies contains 4 grams of Saturated Fat and 6
13   grams of Total Fat. The mono and polyunsaturated fats are not listed on the label,
14   but at a maximum they are 2g of fat. Therefore, the mono and polyunsaturated fats
15   are clearly and factually not the “majority” of the fat content contained within the
16   Munchies. Further, the Munchies contains 0% of the DV of Vitamin D and 2% of
17   the DV of potassium. Therefore, the Munchies also have far below 10% the DV of
18   potassium and Vitamin D required to be “healthy”.
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28   8 See https://www.fda.gov/media/100520/download (Last visited Sept. 4, 2021).

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            37.   The FIT SNACKS Peanut Butter Crisp contains 6 grams of Saturated
21
     Fat and 7 grams of Total Fat. The mono and polyunsaturated fats are not listed on the
22
     label, but at a maximum they are 1g of fat. Therefore, the mono and polyunsaturated
23
     fats are clearly and factually not the “majority” of the fat content contained within
24
     the Peanut Butter Crisp. Further, the Peanut Butter Crisp contains 0% of the DV of
25
     Vitamin D and 2% of the DV of potassium. Therefore, the Peanut Butter Crisp also
26
     has far below 10% the DV of potassium and Vitamin D required to be “healthy”.
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                                 CLASS ACTION COMPLAINT
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           38.    The FIT SNACKS Blueberry Muffin contains 4 grams of Saturated Fat
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     and 6 grams of Total Fat. The mono and polyunsaturated fats are not listed on the
21
     label, but at a maximum they are 2g of fat. Therefore, the mono and polyunsaturated
22
     fats are clearly and factually not the “majority” of the fat content contained within
23
     the Blueberry Muffin. the Blueberry Muffin contains 0% of the DV of Vitamin D
24
     and 2% of the DV of potassium. Therefore, the Blueberry Muffin also has far below
25
     10% the DV of potassium and Vitamin D required to be “healthy”.
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                                 CLASS ACTION COMPLAINT
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20         39.    The FIT SNACKS Chocolate Cake contains 4 grams of Saturated Fat
21   and 6 grams of Total Fat. The mono and polyunsaturated fats are not listed on the
22   label, but at a maximum they are 2g of fat. Therefore, the mono and polyunsaturated
23   fats are clearly and factually not the “majority” of the fat content contained within
24   the Chocolate Cake. Further, the Chocolate Cake contains 0% of the DV of Vitamin
25   D and 2% of the DV of potassium. Therefore, the Chocolate Cake also has far below
26   10% the DV of potassium and Vitamin D required to be “healthy”.
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                                 CLASS ACTION COMPLAINT
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20         40.   The FIT SNACKS Confetti Cake contains 4 grams of Saturated Fat and
21 6 grams of Total Fat. The mono and polyunsaturated fats are not listed on the label,
22 but at a maximum they are 2g of fat. Therefore, the mono and polyunsaturated fats
23 are clearly and factually not the “majority” of the fat content contained within the
24 Confetti Cake. Further, the Confetti Cake contains 0% of the DV of Vitamin D and
25 2% of the DV of potassium. Therefore, the Confetti Cake also has far below 10% the
26 DV of potassium and Vitamin D required to be “healthy”.
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                                CLASS ACTION COMPLAINT
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           41.   The FIT SNACKS Fruity Cereal contains 4 grams of Saturated Fat and
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     6 grams of Total Fat. The mono and polyunsaturated fats are not listed on the label,
21
     but at a maximum they are 2g of fat. Therefore, the mono and polyunsaturated fats
22
     are clearly and factually not the “majority” of the fat content contained within the
23
     Fruity Cereal. Further, the Fruity Cereal contains 0% of the DV of Vitamin D and
24
     2% of the DV of potassium. Therefore, the Fruity Cereal also has far below 10% the
25
     DV of potassium and Vitamin D required to be “healthy”.
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                                CLASS ACTION COMPLAINT
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19         42.    Defendant’s false, deceptive and misleading label statements violate 21
20   U.S.C. § 343(a)(1) and statutes adopted by many states deeming food misbranded
21   when “its labeling is false or misleading in any particular.”
22         43.    Defendant’s false, deceptive and misleading label statements are
23   unlawful under State Unfair and Deceptive Acts and Practices Statutes and/or
24   Consumer Protection Acts, which prohibit unfair, deceptive or unconscionable acts
25   in the conduct of trade or commerce.
26         44.    Further, as explained above, Defendant’s claims are misleading to
27   consumers in violation of 21 U.S.C. § 343, which states, “A food shall be deemed to
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                                 CLASS ACTION COMPLAINT
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 1   be misbranded—False or misleading label [i]f its labeling is false or misleading in
 2   any particular.”
 3         45.    The California Sherman Law explicitly incorporates by reference “[a]ll
 4   food labeling regulations and any amendments to those regulations adopted pursuant
 5   to the FDCA,” as the food labeling regulations of California Cal. Health & Saf.
 6   Code, § 110100, subd. (a). Thus, a violation of federal food labeling laws is an
 7   independent violation of California law and actionable as such.
 8         46.    The New York Food, Drug and Cosmetic Act, New York has expressly
 9   adopted the federal food labeling requirements and has stated “[a] food shall be
10   deemed misbranded in accordance with the Federal Food, Drug and Cosmetic Act
11   (21 U.S.C. §343)[.]” Public Health Law §71.05(d). Thus, a violation of federal food
12   labeling laws is an independent violation of New York law and actionable as such.
13         47.    Plaintiffs and Class members would not have purchased the Products
14   or would have not paid as much for the products, had they known the truth about the
15   mislabeled and falsely advertised products.
16
                            Plaintiffs’ Purchases of The Products
17
18
     Andres Vitiosus
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20         48.    Plaintiff Andres Vitiosus purchased the FIT SNACKS in 2018, 2019,
21   2020 from a local Walmart and GNC.
22         49.    After observing the word “FIT” on the label, Plaintiff Vitiosus
23   purchased the Products believing it to be a healthy option and for the protein benefits.
24         50.    Plaintiff Vitiosus paid approximately $30 for the box of Products at
25   each time of purchase.
26         51.    If Plaintiff Vitiosus had been aware that the Products were not
27   “healthy” or “fit” as defined by federal and state law they would not have purchased
28   or paid significantly less for the Products.
                                  CLASS ACTION COMPLAINT
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 1         52.    As a result of Defendant’s actions, Plaintiff Vitiosus has incurred
 2   damages, including economic damages.
 3   Debra Foley
 4
 5         53.    Plaintiff Nancy Foley purchased FIT SNACKS Protein Bar on or

 6   around July 29, 2021.

 7         54.    After observing the word “FIT” on the label, Plaintiff purchased the

 8   Product believing it to be a healthy option that would help her lose weight.

 9         55.    Plaintiff paid $6.98 for the Product.

10         56.    If Plaintiff had been aware that the Products were not “healthy” or “fit”

11   as defined by federal and state law they would not have purchased or paid

12   significantly less for the Products.

13         57.    As a result of Defendant’s actions, Plaintiff has incurred damages,

14   including economic damages.

15   Rachel Lumbra
16
           58.    Plaintiff Rachel Lumbra purchased FIT SNACKS Fit Snacks in
17
     January, February, and May of 2021.
18
           59.    After observing the word “FIT” on the label, Plaintiff purchased the
19
     Product believing it to be a healthy option that would help her lose weight.
20
           60.    Plaintiff paid $3.99 for the Product at each time of purchase.
21
           61.    If Plaintiff had been aware that the Products were not “healthy” or “fit”
22
     as defined by federal and state law they would not have purchased or paid
23
     significantly less for the Products.
24
           62.    As a result of Defendant’s actions, Plaintiff has incurred damages,
25
     including economic damages.
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                            CLASS ACTION ALLEGATIONS
 1
 2
          63.     Plaintiffs bring this action individually and as representatives of all
 3
     those similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure,
 4
     on behalf of the below-defined Classes:
 5
 6                National Class: During the fullest period allowed by law, all persons
 7                in the United States who purchased any of the Products for their
                  personal use and not for resale within the United States.
 8
                  California Subclass: During the fullest period allowed by law, all
 9                persons in the State of California who purchased any of the Products
10                for personal use and not for resale in the State of California.
11                New York Subclass: During the fullest period allowed by law, all
                  persons in the State of New York who purchased any of the Products
12                for personal use and not for resale in the State of New York.
13
           64.    Members of the classes described are referred to as “Class Members”
14
     or members of the “Classes.”
15
           65.    The following are excluded from the Classes: (1) any Judge presiding
16
     over this action and members of his or her family; (2) Defendant, Defendant’s
17
     subsidiaries, parents, successors, predecessors, and any entity in which Defendant
18
     or its parent has a controlling interest (as well as current or former employees,
19
     officers, and directors); (3) persons who properly execute and file a timely request
20
     for exclusion from the Class; (4) persons whose claims in this matter have been
21
     finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel and
22
     Defendant’s counsel; and (6) the legal representatives, successors, and assigns of
23
     any such excluded persons.
24
           66.    Certification of Plaintiffs’ claims for class-wide treatment is
25
     appropriate because Plaintiffs can prove the elements of their claims on a class-wide
26
     basis using the same evidence as would be used to prove those elements in individual
27
     actions alleging the same claims.
28
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 1         67.      Plaintiffs reserve the right to amend the definitions of the Classes if
 2   discovery or further investigation reveals that the Classes should be expanded or
 3   otherwise modified.
 4         68.      Numerosity – Federal Rule of Civil Procedure 23(a)(1). The
 5   members of the Classes are so numerous that individual joinder of all Class Members
 6   is impracticable. On information and belief, Class Members number in the thousands
 7   to millions. The precise number or identification of members of the Classes are
 8   presently unknown to Plaintiffs but may be ascertained from Defendant’s books and
 9   records. Class Members may be notified of the pendency of this action by
10   recognized, Court-approved notice dissemination methods, which may include U.S.
11   mail, electronic mail, Internet postings, and/or published notice.
12         69.      Commonality and Predominance – Federal Rule of Civil Procedure
13   23(a)(2) and 23(b)(3). Common questions of law and fact exist as to all members of
14   the Classes, which predominate over any questions affecting individual members of
15   the Classes. These common questions of law or fact include, but are not limited to,
16   the following:
17               a) Whether Defendant made false and/or misleading statements to the
18                  consuming public concerning the use of the word “FIT” to market,
19                  advertise, package, label, promote and sell the Products;
20               b) Whether the marketing, advertising, packaging, labeling, and other
21                  promotional materials for the Products are deceptive and conform with
22                  the requirements of the FDCA;
23               c) Whether Defendant’s representations concerning the Products were
24                  likely to deceive a reasonable consumer;
25               d) Whether Defendant’s representations caused injury to Plaintiffs and
26                  Class and Subclass Members; and
27               e) Whether Plaintiffs and Class and Subclass Members are entitled to
28                  damages.
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 1           70.   Defendant engaged in a common course of conduct giving rise to the
 2 legal rights sought to be enforced by Plaintiffs, on behalf of themselves and the other
 3 Class Members. Similar or identical statutory and common law violations, business
 4 practices, and injuries are involved. Individual questions, if any, pale by comparison,
 5 in both quality and quantity, to the numerous common questions that dominate this
 6 action.
 7           71.   Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’
 8 claims are typical of the claims of the other Class Members because, among other
 9 things, all such claims arise out of the same wrongful course of conduct engaged in
10 by Defendant in violation of law as complained of herein. Plaintiffs share the
11 aforementioned facts and legal claims or questions with Class Members, and
12 Plaintiffs and all Class Members have been similarly affected by Defendant’s
13 common course of conduct as alleged herein. Plaintiffs and all Class Members
14 sustained monetary and economic injuries including, but not limited to, ascertainable
15 loss arising out of Defendant’s wrongful conduct.
16           72.   Adequacy of Representation – Federal Rule of Civil Procedure
17 23(a)(4). Plaintiffs are adequate representatives of the Classes because they are
18 members of the Classes and her interests do not conflict with the interests of the Class
19 Members she seeks to represent. Plaintiffs have also retained counsel competent and
20 experienced in complex commercial and class action litigation. Plaintiffs and their
21 counsel intend to prosecute this action vigorously for the benefit of all Class
22 Members. Accordingly, the interests of the Class Members will be fairly and
23 adequately protected by Plaintiffs and their counsel.
24           73.   Insufficiency of Separate Actions – Federal Rule of Civil Procedure
25 23(b)(1). Absent a class action, Class Members will continue to suffer the harm
26 described herein, for which they would have no remedy. Even if separate actions
27 could be brought by individual consumers, the resulting multiplicity of lawsuits
28 would cause undue burden and expense for both the Court and the litigants, as well
                                 CLASS ACTION COMPLAINT
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 1 as create a risk of inconsistent rulings and adjudications that might be dispositive of
 2 the interests of similarly situated consumers, substantially impeding their ability to
 3 protect their interests, while establishing incompatible standards of conduct for
 4 Defendant. Accordingly, the proposed Classes satisfies the requirements of Fed. R.
 5 Civ. P. 23(b)(1).
 6          74.      Declaratory and Injunctive Relief – Federal Rule of Civil
 7 Procedure 23(b)(2). Defendant has acted or refused to act on grounds generally
 8 applicable to Plaintiffs and all Class Members, thereby making appropriate final
 9 injunctive relief and declaratory relief, as described below, with respect to the Classes
10 as a whole.
11          75.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class
12 action is superior to any other available methods for the fair and efficient adjudication
13 of the present controversy for at least the following reasons:
14                • The damages suffered by each individual putative Class Member do
15                   not justify the burden and expense of individual prosecution of the
16                   complex and extensive litigation necessitated by Defendant’s conduct;
17
                  • Even if individual Class Members had the resources to pursue
18
                     individual litigation, it would be unduly burdensome to the courts in
19
                     which the individual litigation would proceed;
20
21                • The claims presented in this case predominate over any questions of
22                   law or fact affecting individual Class Members;
23
24                • Individual joinder of all putative Class Members is impracticable;
25
                  • Absent a class action, Plaintiffs and putative Class Members will
26
                     continue to suffer harm as a result of Defendant’s unlawful conduct;
27
                     and
28
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 1
                 • This action presents no difficulty that would impede its management
 2
                    by the Court as a class action, which is the best available means by
 3
                    which Plaintiffs and putative Class Members can seek redress for the
 4
                    harm caused by Defendant.
 5
 6         76.      In the alternative, the Classes may be certified for the following
 7
     reasons:
 8
 9               • The prosecution of separate actions by individual Class Members
10                  would create a risk of inconsistent or varying adjudication with respect
11                  to individual Class Members, which would establish incompatible
12                  standards of conduct for Defendant;
13
                 • Adjudications of individual Class and Members’ claims against
14
                    Defendant would, as a practical matter, be dispositive of the interests
15
                    of other putative Class Members who are not parties to the
16
                    adjudication and may substantially impair or impede the ability of
17
                    other putative Class Members to protect their interests; and
18
19               • Defendant has acted or refused to act on grounds generally applicable
20                  to the putative Classes, thereby making appropriate final and
21                  injunctive relief with respect to the putative Classes as a whole.
22
23                                    CLAIMS ALLEGED
24                                          COUNT I
25               Violation of California’s Unfair Competition Law (“UCL”)
26                 California Business and Professions Code §17200, et seq.
27                        (On Behalf of Plaintiffs Vitiosus and Foley
28                                and the California Subclass)
                                   CLASS ACTION COMPLAINT
                                              22
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 1         77.     Plaintiffs Andres Vitiosus and Debra Foley repeat and re-allege the
 2   allegations above as if set forth herein.
 3         78.     The UCL defines “unfair business competition” to include any
 4   “unlawful, unfair or fraudulent” act or practice, as well as any “unfair, deceptive,
 5   untrue or misleading” advertising. Cal. Bus. Prof. Code § 17200.
 6         79.     A business act or practice is “unfair” under the UCL if it offends an
 7   established public policy or is immoral, unethical, oppressive, unscrupulous or
 8   substantially injurious to consumers, and that unfairness is determined by weighing
 9   the reasons, justifications and motives of the practice against the gravity of the harm
10   to the alleged victims.
11         80.     Defendant’s actions constitute “unfair” business practices because, as
12   alleged above, Defendant engaged in misleading and deceptive advertising and
13   labeling that represented that the Products were “fit,” or in other words, “healthy.”
14   This use of the word “fit” misleads consumers into believing the Products are
15   “healthy” or “fit” as defined by federal and state law. Defendant’s acts and practices
16   offend an established public policy of accurate labeling, and is immoral, unethical,
17   oppressive, and substantially injurious to consumers.
18         81.     The harm to Plaintiffs and the California Subclass outweighs the utility
19   of Defendant’s practices. There were reasonably available alternatives to further
20   Defendant’s legitimate business interests other than the misleading and deceptive
21   conduct described herein.
22         82.     A business act or practice is “fraudulent” under the UCL if it is likely
23   to deceive members of the consuming public.
24         83.     Defendant’s acts and practices alleged above constitute fraudulent
25   business acts or practices as they have deceived Plaintiffs is highly likely to deceive
26   members of the consuming public. Defendant intended that Plaintiffs and each of
27   the other members of the California Subclass would rely upon their deceptive
28
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 1   conduct and false advertising, and a reasonable person would in fact be misled by
 2   this deceptive conduct.
 3         84.     A business act or practice is “unlawful” under the UCL if it violates
 4   any other law or regulation.
 5         85.     Defendant’s acts and practices alleged above constitute unlawful
 6   business acts or practices as they have violated state and federal law. Defendant’s
 7   false, deceptive, and misleading label statements violate 21 U.S.C. § 343(a)(1),
 8   which states, “[a] food shall be deemed to be misbranded—If (1) its labeling is false
 9   or misleading in any particular[.]”
10         86.     In addition, California law expressly prohibits false advertising. See
11   Cal. Bus. & Prof. Code 17500. Moreover, the Consumer Legal Remedies Act, Cal.
12   Civ. Code § 1770(a)(9), (“CLRA”) also prohibits a business from “[a]dvertising
13   goods or services with intent not to sell them as advertised[.]”
14         87.     The violation of any law constitutes an “unlawful” business practice
15   under the UCL.
16         88.     As detailed herein, the acts and practices alleged were intended to or
17   did result in violations of the FTCA, the FAL, and the CLRA.
18         89.     Defendant’s practices, as set forth above, have misled Plaintiffs, the
19   California Subclass, and the public in the past and will continue to mislead in the
20   future. Consequently, Defendant’s practices constitute an unlawful, fraudulent, and
21   unfair business practice within the meaning of the UCL.
22         90.     Defendant’s violation of the UCL, through its unlawful, unfair, and
23   fraudulent business practices, are ongoing and present a continuing threat that
24   Plaintiffs and the members of the California Subclass and the public will be deceived
25   into purchasing products based on misrepresentations and suffer economic damages
26   to be proven at trial.
27         91.     Pursuant to the UCL, Plaintiffs and the California Subclass are entitled
28   to preliminary and permanent injunctive relief and order Defendant to cease this

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                                               24
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 1   unfair competition, as well as disgorgement and restitution to Plaintiffs and the
 2   California Subclass of all Defendant’s revenues associated with its unfair
 3   competition, or such portion of those revenues as the Court may find equitable.
 4
                                       COUNT II
 5
           Violation of California’s Consumer Legal Remedies Act (“CLRA”)
 6                         California Civil Code §1750, et seq.
                        (On Behalf of Plaintiffs Vitiosus and Foley
 7
                               and the California Subclass)
 8
 9         92.    Plaintiffs Andres Vitiosus and Debra Foley repeat and re-allege the

10   allegations above as if set forth herein.

11         93.    This cause of action is brought pursuant to the CLRA, Cal. Civ. Code

12   § 1750, et seq. Plaintiffs and the California Subclass are “consumers” as defined by

13   Cal. Civ. Code § 1761(d). Defendant’s sale of the Products in retail stores and online

14   to Plaintiffs and the California Subclass were “transactions” within the meaning of

15   Cal. Civ. Code §1761(e). The Products are “goods” within the meaning of Cal. Civ.

16   Code § 1761(a).

17         94.    Defendant violated and continues to violate the CLRA by engaging in

18   at least the following practices proscribed by Cal. Civ. Code § 1770(a) in

19   transactions with Plaintiffs and the California Subclass that were intended to result

20   in, and did result in, the sale of the Products:

21         95.    “Advertising goods or services with intent not to sell them as

22   advertised” (Cal. Civ. Code § 1770(a)(9));

23         96.    Representing that the Products “have sponsorship, approval,

24   characteristics, ingredients, uses, benefits, or quantities that they do not have” (Cal.

25   Civ. Code § 1770(a)(5));

26         97.    Representing that the Products “are of a particular standard, quality, or

27   grade, or that goods are of a particular style or model, if they are of another” (Cal.

28   Civ. Code § 1770(a)(7)).

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 1         98.    Defendant profited from the sale of the falsely, deceptively, and
 2   unlawfully advertised the Products to unwary consumers.
 3         99.    Defendant’s wrongful business practices constituted, and constitute, a
 4   continuing course of conduct in violation of the CLRA.
 5         100. Defendant’s wrongful business practices were a direct and proximate
 6   cause of actual harm to Plaintiffs and California Subclass Members.
 7         101. Pursuant to the provisions of Cal. Civ. Code § 1782(a), on October 8,
 8   2021, Plaintiff Foley and California Subclass Members sent the required notice to
 9   Defendant regarding its unlawful conduct and violation of the CLRA.
10         102. After receiving notice regarding its unlawful conduct and violation of
11   the CLRA, Defendant did not meet the demands enumerated in Plaintiff Foley’s
12   notice letter within 30 days. Hence, Plaintiff Foley now seeks to recover actual
13   damages from Defendant pursuant to the CLRA.
14         103. Pursuant to California Civil Code § 1780, Plaintiffs seek injunctive
15   relief, reasonable attorneys’ fees and costs, and any other relief that the Court deems
16   proper on behalf of the California Subclass.
17
                                        COUNT III
18
                 Violation of California’s False Advertising Law (“FAL”)
19                California Business & Professions Code §17500, et seq.
                        (On behalf of Plaintiffs Vitiosus and Foley
20
                               and the California Subclass)
21
22         104. Plaintiffs Andres Vitiosus and Debra Foley repeat and re-allege the

23 allegations above as if set forth herein.
24         105. Cal. Bus. & Prof. Code § 17500 provides:

25                It is unlawful for any…corporation…with intent…to dispose
26                of…personal property…to induce the public to enter into any
                  obligation relating thereto, to make or disseminate or cause to be
27                made or disseminated…from this state before the public in any
28                state, in any newspaper or other publication, or any advertising

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                   device, or by public outcry or proclamation, or in any other
 1
                   manner or means whatever, including over the Internet, any
 2                 statement…which is untrue or misleading, and which is known,
                   or which by the exercise of reasonable care should be known, to
 3
                   be untrue or misleading…
 4
 5          106. The “intent” required by Section17500 is the intent to dispose of

 6   property, and not the intent to mislead the public in the disposition of such property.

 7          107. Defendant’s advertising and labeling that represented misrepresented

 8   the amount of protein in the Products was an unfair, untrue, and misleading practice.

 9   This deceptive marketing practice gave consumers the false impression of the

10   amount of protein in the Products.

11          108. As a direct and proximate result of Defendant’s misleading and false

12   advertisements, Plaintiffs and the California Subclass have suffered injury in fact

13   and have lost money. As such, Plaintiffs request that this Court order Defendant to

14   restore this money to Plaintiffs and all members of the California Subclass, and to

15   enjoin Defendant from continuing these unfair practices in violation of the FAL in

16   the future. Otherwise, Plaintiffs, the California Subclass, and the broader public will

17   be irreparably harmed and/or denied an effective and complete remedy.

18
                                        COUNT IV
19                 Violation of New York General Business Law § 349
20             (On Behalf of Plaintiff Lumbra and the New York Subclass)
21          109. Plaintiff Rachel Lumbra repeats and re-alleges the allegations above as
22   if set forth herein.
23          110. New York Business Law §349 prohibits “[d]eceptive acts or practices
24   in the conduct of any business, trade or commerce or in the furnishing of any
25   service[.]” N.Y. GEN. BUS. LAW § 349.
26          111. Defendant’s actions occurred in the conduct of business, trade or
27   commerce.
28
                                 CLASS ACTION COMPLAINT
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 1         112. Defendant’s foregoing acts and practices, including its omissions, were
 2   directed at consumers.
 3         113. Defendant’s foregoing deceptive acts and practices, including its
 4   omissions, were material, in part, because they concerned an essential part of the
 5   Products ingredients and functionality.
 6         114. Defendant’s conduct, as described in this Complaint, constitutes
 7   “deceptive acts or practices” within the meaning of the New York GBL. All of
 8   Defendant’s deceptive acts and practices, which were intended to mislead consumers
 9   in a material way in the process of purchasing Defendant’s Products, constitute
10   conduct directed at consumers.
11         115. As purveyors in the highly lucrative protein bar market, Defendant
12   knows that when it comes to labeling and marketing, words matter. This is why
13   Defendant chose to name the Products “FIT” Snacks, and to emblazon the word
14   “FIT” on the front and center of each Product label, in a bold all-capitalized font,
15   where it cannot be missed by consumers.
16         116. Defendant chose to label the Products in this way to impact consumer
17   choices and gain market dominance, as it is well aware that all consumers who
18   purchased the Products were exposed to, and would be impacted by, the “FIT”
19   representation and would reasonably believe from this representation that the
20   Products are healthy. However, the Products are not “healthy”, in violation of the
21   United States Food, Drug and Cosmetic Act (“FDCA”) and parallel state laws.
22         117. Defendant’s deceptive marketing has been successful. Customer
23   reviews indicate that they buy the FITSNACKS because they supposedly support a
24   healthy lifestyle.
25         118. As described herein, Defendant’s false, deceptive and misleading label
26   statements violate 21 U.S.C. § 343(a)(1) and the statutes adopted by many states,
27   which deem food misbranded when “its labeling is false or misleading in any
28   particular.”

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 1         119. Defendant’s foregoing deceptive and unfair acts and practices,
 2   including its omissions, were and are deceptive acts or practices in violation of the
 3   New York’s General Business Law § 349, Deceptive Acts and Practices, N.Y. Gen.
 4   Bus. Law 349, et seq., in that:
 5         Defendant        manufactured,   labeled,   packaged,   marketed,   advertised,
 6         distributed, and/or sold the Products with the word “FIT” on the front and
 7         center of each Product label, in a bold all-capitalized font, where it cannot be
 8         missed by consumers, in order to convince consumers that the products are
 9         healthy when they knew, or should have known that the products are not
10         “healthy” in violation of the FDCA and parallel state laws.
11         120. Defendant further deceived reasonable consumers into believing that
12   the Products were fit for their intended purpose of a healthy lifestyle, and omitted
13   and failed to disclose that the Products are not healthy as defined by the FDCA and
14   parallel state laws.
15         121. Plaintiff and the New York Subclass Members suffered damages when
16   they purchased the Products. Defendant’s unconscionable, deceptive and/or unfair
17   practices caused actual damages to Plaintiff and the New York Subclass Members
18   who were unaware that the Products are not “healthy” in violation of the FDCA and
19   parallel state laws.
20         122. Defendant’s foregoing deceptive acts and practices, including its
21   omissions, were likely to deceive, and did deceive, consumers acting reasonably
22   under the circumstances. Consumers, including Plaintiff and putative New York
23   Subclass Members, would not have purchased their Products had they known that
24   the Products are not “healthy” as defined by the FDCA and parallel state laws.
25         123. As a direct and proximate result of Defendant’s deceptive acts and
26   practices, including its omissions, Plaintiff and New York Subclass Members have
27   been damaged as alleged herein, and are entitled to recover actual damages to the
28
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                                              29
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 1   extent permitted by law, including class action rules, in an amount to be proven at
 2   trial.
 3            124. In addition, Plaintiff and New York Subclass Members seek equitable
 4   and injunctive relief against Defendant’s on terms that the Court considers
 5   reasonable, and reasonable attorneys’ fees and costs.
 6            125. On October 6, 2021, Plaintiff gave notice to Defendant of its violations
 7   of the New York General Business Law § 349 On October 21, 2021, Defendant
 8   responded to Plaintiff by letter, but did not remedy its breaches of New York General
 9   Business Law § 349.
10            126. Therefore, within 30 days of receiving notice, Defendant did not take
11   the necessary steps outlined in Plaintiff’s notice letter to remedy their breach of New
12   York General Business Law § 349 for the Products.
13            127. In addition, Defendant’s conduct showed malice, motive, and the
14   reckless disregard of the truth such that an award of punitive damages is appropriate.
15
                                          COUNT V
16
                    Violation of New York General Business Laws § 350
17               (On Behalf of Plaintiff Lumbra and the New York Subclass)
18
              128. Plaintiff Rachel Lumbra repeats and re-alleges the allegations above as
19
     if set forth herein.
20
              129. New York Business Law §350 prohibits “[f]alse advertising in the
21
     conduct of any business, trade or commerce or in the furnishing of any service[.]”
22
     N.Y. GEN. BUS. LAW § 350.
23
              130. Defendant’s actions occurred in the conduct of business, trade or
24
     commerce.
25
              131. Defendant’s foregoing acts and practices, including its advertising,
26
     were directed at consumers.
27
28
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 1         132. Defendant’s conduct, as described in this Complaint, constitutes “false
 2   advertising” within the meaning of the New York GBL, as Defendant publicly
 3   disseminated misleading and false advertisements through advertising and
 4   marketing statements, suggesting that their Products were healthy.
 5         133. Defendant’s foregoing, consumer-oriented, unfair or deceptive acts and
 6   practices, including its advertising, representations, and omissions, constitutes false
 7   and misleading advertising in a material way in violation of the New York’s General
 8   Business Law § 350.
 9         134. Defendant’s false, misleading and deceptive advertising and
10   representations include misrepresenting and misleadingly marketing and labeling
11   the products were fit for their intended purpose of a healthy lifestyle and omitting
12   and failing to disclose that the Products are not healthy as defined by the FDCA and
13   parallel state laws.
14         135. Defendant’s false, misleading, and deceptive advertising and
15   representations of fact were and are directed at consumers.
16         136. Defendant’s false, misleading, and deceptive advertising and
17   representations of fact were and are likely to mislead a reasonable consumer acting
18   reasonably under the circumstances.
19         137. Defendant’s false, misleading, and deceptive advertising and
20   representations of fact have resulted in consumer injury or harm to the public interest
21         138. Defendant intended that Plaintiff and each of the other members of the
22   New York Subclass would rely upon their deceptive conduct and false advertising,
23   and a reasonable person would in fact be misled by this deceptive conduct.
24   Defendant engaged in misleading and deceptive advertising that represented that the
25   Products were “fit,” or in other words, “healthy.” Defendant chose to label the
26   Products in this way to impact consumer choices and gain market dominance, as it
27   is aware that all consumers who purchased the Products were exposed to, and would
28   be impacted by, the “fit” representation and would reasonably believe from this

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 1   representation that the Products are healthy. This use of the word “fit” misleads
 2   consumers into believing the Products were healthy. However, the Products are not
 3   “healthy” as they are not healthy as defined by the FDCA and parallel state laws.
 4   Thus, Defendant’s advertising and labeling that the Products were fit and healthy
 5   was an unfair, untrue, and misleading practice.
 6           139. Consumers, including Plaintiff and New York subclass members either
 7   would not have purchased the Products or would have paid less for them had the
 8   known that the Products are not “healthy” in violation of the FDCA and parallel state
 9   laws.
10           140. As a direct and proximate result of Defendant’s deceptive acts and
11   practices, including it’s use or employment of false advertising, Plaintiff and each
12   of the other members of the New York Subclass have sustained actual damages in
13   an amount to be proven at trial.
14           141. In addition, Plaintiff and New York Subclass Members seek equitable
15   and injunctive relief against Defendant on terms that the Court considers reasonable,
16   and reasonable attorneys’ fees and costs.
17           142. On November 17, 2021, Plaintiff gave notice to Defendant of its
18   violations of the New York General Business Law § 350. Defendant never
19   responded to Plaintiff’s letter.
20           143. Therefore, within 30 days of receiving notice, Defendant did not take
21   the necessary steps outlined in Plaintiff’s notice letter to remedy their breach of New
22   York General Business Law § 350 for the Products.
23           144. In addition, Defendant’s conduct showed malice, motive, and the
24   reckless disregard of the truth such that an award of punitive damages is appropriate.
25
26
27
28
                                  CLASS ACTION COMPLAINT
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                                        COUNT VI
 1
                               Breach of Express Warranty
 2                   (On Behalf of the National Class and, alternatively,
                         the California and New York Subclasses)
 3
 4            145. Plaintiffs repeat and re-allege the allegations above as if set forth
 5   herein.
 6            146. Plaintiffs, and each member of the National Class, formed a contract
 7   with Defendant at the time Plaintiffs and each member of the National Class
 8   purchased the Products.
 9            147. The terms of the contract include the promises and affirmations of fact
10   made by Defendant on the Products’ packaging and through marketing and
11   advertising, as described above.
12            148. This labeling, marketing, and advertising constitute express warranties
13   and became part of the basis of the bargain and are part of the standardized contract
14   between Plaintiffs and the members of the National Class and Defendant.
15            149. As set forth above, Defendant purports, through its “fit” claims made
16   in connection with its advertising, labeling, marketing, and packaging, to create an
17   express warranty that the Products contain a certain amount Total Fat and that a
18   majority of that fat is the healthier mono and polyunsaturated fat.
19            150. Plaintiffs and the members of the National Class performed all
20   conditions precedent to Defendant’s liability under this contract when they
21   purchased the Products.
22            151. Defendant breached express warranties about the Products and their
23   qualities because Defendant’s Products’ name, “FIT SNACKS” were misleading, as
24   set forth above, and the Products do not conform to Defendant’s affirmations and
25   promises described above.
26            152. Plaintiffs and each of the members of the National Class would not have
27   purchased the Products had they known the true nature of the Products’ nutritional
28   value.
                                   CLASS ACTION COMPLAINT
                                              33
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 1         153. As a result of Defendant’s breach of warranty, Plaintiffs and each of the
 2   members of the National Class have been damaged in the amount of the purchase
 3   price of the Products and any consequential damages resulting from their purchases.
 4         154. Plaintiff Foley and California Subclass Members sent notice to
 5   Defendant regarding its unlawful conduct and breach of express warranties.
 6         155. After receiving notice regarding its unlawful conduct and breach of
 7   express warranties, Defendant did not meet the demands enumerated in their notice
 8   letter within 30 days.
 9
                                           COUNT VII
10
                                        Unjust Enrichment
11             (In the Alternative to Count I and on Behalf of the National Class
                  and, alternatively, the California and New York Subclasses)
12
13         156. Plaintiffs repeat and re-allege the allegations above as if set forth
14   herein.
15         157. Plaintiffs and the other members of the National Class conferred
16   benefits on Defendant by purchasing the Products.
17         158. Defendant has been unjustly enriched in retaining the revenues derived
18   from the purchase of the Products by Plaintiffs and the other members of the
19   National Class.
20         159. Retention of those monies under these circumstances is unjust and
21   inequitable because Defendant’s labeling of the Products was misleading to
22   consumers, which caused injuries to Plaintiffs and the other members of the National
23   Class because they would have not purchased the Products if Defendant’s had not
24   mislead them into believing the Products were “fit,” or healthy.
25         160. Because Defendant’s retention of the non-gratuitous benefits conferred
26   on them by Plaintiffs and the other members of the National Class is unjust and
27   inequitable, Defendant must pay restitution to Plaintiffs and the other members of
28   the National Class for their unjust enrichment, as ordered by the Court.
                                  CLASS ACTION COMPLAINT
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 1
                                       JURY DEMAND
 2
 3         161. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a
 4   trial by jury of all claims in this Complaint so triable.
 5
 6                                REQUEST FOR RELIEF
 7
           WHEREFORE, Plaintiffs, individually and on behalf of the Class Members,
 8
     pray for judgment and relief against Defendant as follows:
 9
10         a) For an order declaring: (i) this is a class action pursuant to Rule 23 of the
11             Federal Rules of Civil Procedure on behalf of the proposed Classes
12             described herein; and (ii) appointing Plaintiff to serve as representatives
13             for the Classes and Plaintiffs’ counsel to serve as Class Counsel;
14
15         b) For an order enjoining Defendant from continuing to engage in the

16             unlawful conduct set forth herein;

17         c) For an order awarding restitution of the monies Defendant wrongfully
18             acquired by its illegal and deceptive conduct;
19
20         d) For an order requiring disgorgement of the monies Defendant wrongfully

21             acquired by its illegal and deceptive conduct;

22         e) For compensatory and punitive damages, including actual and statutory
23             damages, arising from Defendant’s wrongful conduct and illegal conduct;
24
25         f) For an award of reasonable attorneys’ fees and costs and expenses incurred

26             in the course of prosecuting this action; and

27   For such other and further relief as the Court deems just and proper
28
                                  CLASS ACTION COMPLAINT
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 2   DATED: December 8, 2021.         Respectfully submitted,
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 5
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